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                                                                                         G. MARK ALBRIGHT, ESQ. (#001394)
                                                                                     1   JORGE L. ALVAREZ, ESQ. (#014466)
                                                                                         ALBRIGHT, STODDARD, WARNICK & ALBRIGHT
                                                                                     2
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                                                                                     5   Attorneys for Plaintiffs

                                                                                     6                                                      UNITED STATES DISTRICT COURT

                                                                                     7                                                                   DISTRICT OF NEVADA
                                                                                     8
                                                                                         SOCORRO CHAVEZ, individually, and JUAN                                                             CASE NO.:                  2:20-cv-1222-JCM-DJA
                                                                                     9   CHAVEZ, individually,
                                                                                                                                                                                            (State Case No. A-20-815334-C)
                                                                                    10                                           Plaintiffs,
                                                                                         v.
              ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




                                                                                    11
                                                                                         WYNDHAM VACATION RESORTS, INC.;                                                                         STIPULATION AND [PROPOSED]
                                                                                    12   WYNDHAM RESORT DEVELOPMENT CORP.;                                                                       ORDER TO EXTEND RESPONSE
                                                                                         WYNDHAM WORLDWIDE OPERATIONS, INC.;                                                                      DEADLINES TO DEFENDANTS’
                                                                                    13                                                                                                               MOTIONS TO DISMISS
                                                                                         WYNDHAM VACATION OWNERSHIP, INC.;
                                                       A PROFESSIONAL CORPORATION




                                                                                                                                                                                                        (First Request)
                                                         LAS VEGAS, NEVADA 89106
                                                          801 SOUTH RANCHO DRIVE




                                                                                         JOSEPH YOUNG, an individual; and JOHN DOES
                                                           QUAIL PARK, SUITE D-4




                                                                                    14
LAW OFFICES




                                                                                         1-50,
                                                                                    15
                                                                                                                                 Defendants.
                                                                                    16
                                                                                                      Pursuant to Local Rules IA 6-1 and 7-1, Plaintiffs Socorro Chavez and Juan Chavez
                                                                                    17
                                                                                         (“Plaintiffs”), by and through their counsel of record, and Defendants Wyndham Vacation Resorts,
                                                                                    18
                                                                                         Inc., Wyndham Resort Development Corporation, Wyndham Worldwide Operations, Inc.,
                                                                                    19
                                                                                         Wyndham Vacation Ownership, Inc., (collectively, “Wyndham Defendants”), and Joseph Young
                                                                                    20
                                                                                         (“Young, and with the Wyndham Defendants, “Defendants”), by and through their counsel of
                                                                                    21
                                                                                         record, hereby stipulate and agree, subject to the Court’s approval, that the time for Plaintiffs to file
                                                                                    22   Responses to Defendants’ Motions to Dismiss, filed on June 29, 2020, shall be extended as set forth
                                                                                    23   below, and in support thereof state as follows.1 This is the first request to extend these deadlines.
                                                                                    24                1.            Defendants filed a Demand for Non-Resident Cost Bond from Plaintiffs on June 29,
                                                                                    25                              2020;
                                                                                    26
                                                                                         1
                                                                                           Concurrent with filing the Motions to Dismiss, Defendants also filed a Demand for Non-resident Cost Bond to
                                                                                    27   Plaintiffs. Under NRS 18.130, this case is stayed until Plaintiffs post an undertaking or money with the court sufficient
                                                                                         to secure costs that may be awarded against them. Based on representations that the cost bond will be posted,
                                                                                    28   Defendants are in agreement to extend Plaintiffs’ response deadline as follows.
                                                                                         G:\Timeshare Litigations\Chavez v. Wyndham (11292.0030)\Federal Case\2020-07-13-SAO to Extend Response Deadline (Proposed).docx
                                                                                         Case 2:20-cv-01222-JCM-DJA Document 9
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                                                                                     1          2.     Wyndham Defendants jointly filed a Motion to Dismiss on June 29, 2020;

                                                                                     2          3.     Defendant Joseph Young filed a Motion to Dismiss on June 29, 2020;

                                                                                     3          4.     Plaintiffs’ Responses to each of Defendants’ above-mentioned Motions to Dismiss
                                                                                                       are currently due on July 13, 2020;
                                                                                     4
                                                                                                5.     Pursuant to Local Rule IA 6-1(b), the parties state the reason for the extension is that
                                                                                     5
                                                                                                       counsel requires more time to evaluate and respond to Defendants’ above-mentioned
                                                                                     6
                                                                                                       Motions to Dismiss. Counsel for Plaintiff will also be unavailable for personal
                                                                                     7
                                                                                                       reasons during the second week of July 2020.
                                                                                     8
                                                                                                6.     The parties agree that Plaintiffs shall have until on or before Monday, July 27, 2020,
                                                                                     9                 to file their Responses to Defendants’ above-mentioned Motions to Dismiss;
              ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




                                                                                    10          7.     Defendants agree to file their Replies to Defendants’ above-mentioned Motions to
                                                                                    11                 Dismiss in conformity with the court rules.

                                                                                    12          8.     This stipulation is made in good faith and is not sought for delay or any improper
                                                       A PROFESSIONAL CORPORATION



                                                         LAS VEGAS, NEVADA 89106
                                                          801 SOUTH RANCHO DRIVE
                                                           QUAIL PARK, SUITE D-4




                                                                                    13                 purpose.
LAW OFFICES




                                                                                    14          WHEREFORE, the parties hereby stipulate and respectfully request that the Court enter an
                                                                                         Order extending the time for Plaintiffs to file their Responses to Defendants’ above-mentioned
                                                                                    15
                                                                                         Motions to Dismiss to July 27, 2020.
                                                                                    16
                                                                                         DATED this 13th     day of July, 2020.                DATED this 13th day of July, 2020.
                                                                                    17
                                                                                         ALBRIGHT, STODDARD, WARNICK                           ARMSTRONG TEASDALE LLP
                                                                                    18    & ALBRIGHT
                                                                                    19     /s/ Jorge L. Alvarez, Esq.                           /s/ Michelle D. Alarie, Esq.
                                                                                    20   G. MARK ALBRIGHT, ESQ., #001394                       MICHELLE D. ALARIE, ESQ., #11894
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                                                                                         gma@albrightstoddard.com                              Attorneys for Defendants
                                                                                    23   jalvarez@albrightstoddard.com
                                                                                         Attorneys for Plaintiffs
                                                                                    24

                                                                                    25                                                ORDER

                                                                                    26                           July____
                                                                                                IT IS SO ORDERED this 17, 2020.
                                                                                                                          day of July, 2020.

                                                                                    27
                                                                                                                                      UNITED STATES DISTRICT COURT JUDGE
                                                                                    28
                                                                                                                                         -2-
